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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                            Plaintiffs,

                       v.                                   Case No. 1:25-cv-00381-ABJ

 Russell VOUGHT, in his official capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.,
                           Defendants.


     MOTION OF 203 MEMBERS OF CONGRESS FOR LEAVE TO FILE AMICUS
                      CURIAE BRIEF IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Local Rule 7(o), 203 Members of Congress respectfully seek this Court’s leave

to file the attached amicus curiae brief in support of Plaintiffs’ pending motion, which the Court

has “deemed a motion for preliminary injunction.” ECF 19. The motion for leave to file this brief

should be granted for the following reasons:

   1. Proposed amici are members of Congress who are well-acquainted with the Dodd-Frank

Wall Street Reform and Consumer Protection Act of 2010 (Dodd-Frank), Pub. L. No. 111-203, 124

Stat. 1376, and the regulatory framework it established to protect consumers in the U.S. financial

marketplace. They include members who sponsored Dodd-Frank, participated in drafting it, serve

or served on committees with jurisdiction over the federal financial regulatory agencies and the

banking industry, and currently serve in the leadership or served in the leadership when Dodd-

Frank was passed. They are thus familiar with the essential role that the Consumer Financial

Protection Bureau (CFPB) plays in Dodd-Frank’s framework. Significantly, based on their

experiences, amici know that Congress created the CFPB as a new agency with consolidated
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consumer financial protection authority and gave the Bureau extensive—and in many cases

exclusive—mandatory responsibilities and obligations to regulate the very financial institutions

that led to the 2008 financial crisis. A full list of proposed amici is in the appendix to the brief,

which is attached as Exhibit 1.

    2. This Court has “broad discretion” to permit participation by third parties as amicus curiae.

Nat’l Ass’n of Home Builders v. U.S. Army Corps of Engineers, 519 F. Supp. 2d 89, 93 (D.D.C.

2007). The Court has permitted such participation where a third party has “unique information or

perspective” that can contribute to the Court’s understanding of the matter in question, Jin v.

Ministry of State Sec’y, 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (internal quotation marks omitted),

and “relevant expertise and a stated concern for the issues at stake in [the] case,” District of

Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011).

    3. The proposed brief, attached as Exhibit 1, plainly satisfies these standards. Among other

things, proposed amici are particularly well-positioned to explain the history of the CFPB,

including the context in which it was created and the reasoned decision Congress made to

consolidate authority in a new agency with a singular mission to protect consumers. Defendants’

recent actions toward the CFPB, including implementing sweeping stop-work orders with plans to

arbitrarily fire most employees, represent blatant disregard for Congress’s role and express

directives in clear violation of Dodd-Frank and the Constitution’s mandate that the laws be

faithfully executed. Proposed amici are also able to provide their unique perspective on the

significant achievements of the CFPB as well as the regulatory vacuum that would result should

Defendants be permitted to dismantle the Bureau. Proposed amici thus have a substantial interest

in this case.




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   4. Pursuant to Local Rules 7(m) and 7(o), counsel for amici conferred with counsel for the

parties in this case. Plaintiffs consent to this motion. Defendants take the following position:

“While the Department of Justice normally consents to the timely filing of amicus briefs, due to

the late nature of the proposed filing Defendants take no position.”

   5. Accordingly, the Court should grant this motion for leave to file the proposed amicus curiae

brief in support of Plaintiffs’ motion for a preliminary injunction. A Proposed Order is attached as

Exhibit 2.

Date: February 28, 2025                            Respectfully submitted,

 Douglas R. Jensen*                                /s/ Hannah Kieschnick
 SHER TREMONTE LLP                                 Hannah Kieschnick*
 90 Broad St., 23d Floor                           PUBLIC JUSTICE
 New York, New York 10004                          475 14th St., Ste 610
 (202) 202-2600                                    Oakland, CA
 djensen@shertremonte.com                          (510) 622-8150
                                                   hkieschnick@publicjustice.net

                                                   /s/ Lucia Goin
                                                   Lucia Goin (DC Bar No. 1739389)
                                                   Shelby Leighton*
                                                   PUBLIC JUSTICE
                                                   1620 L St. NW, Ste. 630
                                                   Washington, DC 20036
                                                   (202) 797-8600
 * Motion for pro hac vice admission               lgoin@publicjustice.net
 forthcoming                                       sleighton@publicjustice.net


                       Counsel for Amici Curiae 203 Members of Congress




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of February 2025, I electronically filed the foregoing

motion, together with its accompanying proposed amici curiae brief and proposed order, using the

Court’s CM/ECF system, which effected service upon all parties who have entered an appearance.

Date: February 28, 2025                              /s/ Lucia Goin
                                                     Lucia Goin




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